Case 1:09-Cv-00597-LI\/|B-TCB Document 38-23 Filed 10/23/09 Page 1 of 3 Page|D# 654

EXHIBIT V

case 1:09-cv-00597-Li\/is-TCB Documem 33-23 Filed 1'0/23/09 Page 2 or 3 Pageibessss>f`?

Dickinson, Nliche|ie J.

From: Dicl<insonl Niichelie J.

Sent: Thursdayl October 22, 2009 6:02 PlVi
To: isabel i\li Humphrey

Cc: Randy Yavitz; Candess Hunter; Roth, iVieiissa R.
Subject: RE; Loomis

To confirm, Joe is sending you by overnight mail today a new load tile with ai| of the metadata required by the
Court Order. i request that you conhrm that you will send the new load fite to us by overnight mail for Saturday
delivery As l understand Jenni Loomis‘ documents will not be among the load file materials

‘r’ou have mischaracterized my position regarding document production As l indicated on the phone before you
hung up on me, it is not appropriate for you to allow your client, Joe i_oomis, to run the entire document
production without any assistance from you, his counsel l did not suggest that clients should not be involved; l
suggested that you should be and that your failure to be involved has caused the problems we are dealing with
today

From: Isabei M Humphrey [maiito:isabei@hhy|aw.com]
Sent: Thursday, October 22, 2009 3:51 PM

To: Dici<inson, Miche|le J.

Cc: Randy Yavitz; Candess Hunter; Roth, Melissa R.
Subject: RE: Loomis

i'viicheiiel Joe has sent to us by overnight mail the revised load file, etc. that you requested Th§s is a rolling
production. as you know, and your documents certainly have not arrived on the dates they were due either.

Your position that clients should not assist with document production is not novel to us. We have heard
that argued before judges in Arizona. Typicaiiy, the lawyers who make that argument are sanctioned for
not involving their clients in document production

isabel iVi. Humphrey, Esq.

HUNTER, HUMPHREY & YAVITZ, PLC
2633 E indian Schoo| Rd. #440
Phoenix, Arizona 85016

Teiephone: 602~275-7733 )<103
Direct Fax: 480»452-1374
isabel@hhy|aw.com
www.hhyiaw.corn

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--- Originai Niessage~»~

To: "|sabe| |Vi Hurnphrey"

Cc: "Randy Yavltz" , "Candess Hunter" , “Roth,
|‘v‘ieiissa R."

From: "Dickinson, |Viiche||e J."

Sent: 10/22/2009 11:O4AN1

Subject: Loomis

10/23/2009

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Counsel:
Piease see attached correspondence
i‘viichelie

Please consider the environment

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database 4534 (20091022)

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10/23/2009

